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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


NATIONAL TREASURY EMPLOYEES
UNION, et al.,

                       Plaintiffs,

         v.                                         Case No. 1:25-cv-00381-ABJ

RUSSELL VOUGHT, in his official
capacity as Acting Director of the Consumer
Financial Protection Bureau, et al.,

                       Defendants.


      NOTICE OF FILING OF EXHIBIT LIST AND DOCKETING OF EXHIBITS

       Please take Notice that, pursuant to the Court’s April 21, 2025 Minute Order, Defendants

are docketing the following Exhibits:

 Exhibit Number Description
 DX-01              ECF No. 109: Declaration of Mark Paoletta, including attachments

 DX-02              CFPB_00258-259: Email re: Re: Specific Notice of RIF Template

 DX-03              CFPB_00256-257: Email re: Re: Specific Notice of RIF Template

 DX-04              CFPB_00546: Email re: Confirming Direction from DOGE members

 DX-05              CFPB_00139: Email re: Additional Info

 DX-06              CFPB_00358-361: Memo re: Divisional Staffing

 DX-07              CFPB_02720: PDF of Excel Spreadsheet re: CFPB’s Statutory Duties

 DX-08              CFPB_00332-338: Email re: Statutorily-required units//brief history

 DX-09              CFPB_00370-00371: Bureau Wide Reduction Scenario 04152025 149 pm

 DX-10              CFPB_00710: PDF of Excel Spreadsheet re: Position Retention Worksheet
                    _4-16-25_for Flagging 4.25 (Confidential information removed)

 DX-11              CFPB_00668-669: Email re: RE: job codes for review and approval
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 DX-12             CFPB_00649-650: Email re: RE: job codes for review and approval

 DX-13             CFPB_00321: RIF Breakdown


Dated: April 26, 2025                    YAAKOV M. ROTH
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